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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ISAIAH J. PETILLO,                                 No. 1:23-cv-00661 GSA (PC)
12                        Plaintiff,                     ORDER DISREGARDING AS IMPROPERLY
                                                         FILED PLAINTIFF’S MOTION FOR A
13                v.                                     SUBPOENA
14    J. GALLAGHER, et al.,                              (ECF No. 10)
15                        Defendants.                    ORDER DIRECTING CLERK OF COURT TO
                                                         REFILE MOTION FOR A SUBPOENA IN
16                                                       PETILLO V. JASSO, CASE NO.: 1:21-CV-
                                                         01401 SAB
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                                                         (ECF No. 10)
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             Plaintiff, a county jail inmate proceeding pro se, has filed this civil rights action seeking
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     relief under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate Judge
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     pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.
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             On October 26, 2023, a motion for subpoena filed by Plaintiff was docketed in this case.
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     ECF No. 10. In it, Plaintiff requests a witness subpoena form from the Court, and he states that
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     he has another case, Petillo v. Jasso, No. 1:21-cv-01401 SAB (“Jasso”), which is about to go to
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     trial. Id.
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             This matter has yet to be screened due to the Court’s tentative finding that it was untimely
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     filed. See ECF No. 4 (Court’s June 2023 order to show cause). Thus, a request that a subpoena
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 1   issue in this case is premature. However, a cursory review of the docket in the Jasso case

 2   indicates that that matter is in the pretrial stages of its proceedings. See Jasso, ECF No. 95

 3   (October 2023 order regarding trial schedule). The docket in Jasso also indicates that Plaintiff

 4   has begun to file pretrial motions. See Jasso, ECF Nos. 108, 110 (recent pretrial motions filed by

 5   Plaintiff in Jasso matter).

 6           Based on these findings, although Plaintiff wrote the 1:23-cv-00661 GSA case number on

 7   the instant motion for a subpoena, and it was filed in this case, it appears that the motion should

 8   have been filed in the Jasso matter. Therefore, the motion will be disregarded as improperly filed

 9   in this case, and the Clerk of Court will be directed to file it in Plaintiff’s Petillo v. Jasso, No.

10   1:21-cv-01401 SAB matter along with a copy of this order.

11           Accordingly, IT IS HEREBY ORDERED that:

12           1. Plaintiff’s motion for a subpoena (ECF No. 10) shall be DISREGARDED as

13   improperly filed, and

14           2. The Clerk of Court shall file Plaintiff’s motion for a subpoena (ECF No. 10) in the

15   Petillo v. Jasso, No. 1:21-cv-01401 SAB matter, with a copy of this order attached to it.

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     IT IS SO ORDERED.
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18       Dated:     December 7, 2023                                 /s/ Gary S. Austin
                                                         UNITED STATES MAGISTRATE JUDGE
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